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AppleSearch
User's Guide



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          AppleSearch User's Guide




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Preface    About This Guide



           AppleSearch is a powerful but easy-to-use information search-and-retrieval
           product consisting of two software application programs: AppleSearch Client
           and AppleSearch Server.
           This guide presents an overview of AppleSearcb, then describes the AppleSearch
           client software and explains how to install and use it.

           Who should use this guide
           This guide is designed for people who will use AppleSearch to sift through
           large amounts of data to find specific infonnation. If you are new to AppleSearch,
           you should read Chapter 1 to learn AppleSearch concepts; then read the rest of
           the book to find out how to create and refine an information request. If you are
           familiar with AppleSearch, you I'hould read information specific to WAIS
           information sources, a new feature of AppleSearch.
           The AppleSearch Server application program is documented in AppleSearch
           Administrator s Guide, a companion guide to this book. If you will be acting
           as the AppleSearch administrator, you can start by using the administrator's
           guide to set up your server. However, AppleSearch Administrator s Guide does
           not cover client software features; to be able to fully support AppleSearch users,
           you should read AppleSearch User's Guide in its entirety.




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                     This guide assumes that you are familiar with the Macintosh desktop as well
                     as with basic Macintosh skills, such as using the mouse and choosing menu
                     items. If you're unfamiliar with these skills, refer to the manuals that came
                     with your computer.


                     What this guide contains
                     This book is designed to serve as a starting point for everyone who uses
                     AppleSearch, as well as a guide to using the AppleSearch Client program.
                     • Chapter 1, "About AppleSearch," provides background information and an
                       overview of AppleSearch.
                     • Chapter 2, "Getting Started," tells you what hardware and software you need
                       to use AppleSearch, provides instructions for installing the AppleSearch
                       Client software, and describes how to connect to an AppleSearch server.
                     • Chapter 3, "Creating and Using an AppleSearch Reporter," provides step-
                       by-step instructions for creating an AppleSearch reporter and using it to
                       carry out an information search.
                     • Chapter 4, "Phrasing Search Requests," provides detailed instructions for
                       constructing search requests so that you get precisely the information you want.
                     • Appendix A, "AppleSearch Menu Reference," describes the items in the
                       menus displayed by the AppleSearch Client program.
                     • Appendix B, "Troubleshooting," lists problems you might have while using
                       AppleSearch and suggests likely solutions.

                     Terms with special meanings relating to AppleSearch are defined in the Glossary.




    viii   Preface




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  For more information
  For more information about AppleSearch, refer to the following manuals from
  Apple Computer:
  • AppleSearch Administrator's Guide describes how to set up and maintain an
    AppleSearch server.
  • AppleSearch Client Developer's Guide describes how to program a client
    interface to the AppleSearch Server software. (This book is intended for
    developers only.)
  • AppleSearch Update File Format Reference describes how to enable other
    programs to read and write AppleSearch update files. It also describes how
    to extend the update file format to include non-text data. (This book is
    intended for developers only.)




                                                         For more information   ix




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  About AppleSearch



  AppleSearch is a full-text search-and-retrieval application program. It builds
  your organization's unstructured information into an information collection and
  provides electronic search agents, called reporters, to search that collection for
  the information you need. For example, you could use AppleSearch to find all
  documents in the collection that are dated after October 14, 1989, and that
  discuss computer graphics; to sort those documents according to their relevance
  to your needs; and to display the sorted list for you.
  You can add your own documents to this information, to be shared with other
  members of your workgroup. You can also use AppleSearch to search for
  information on celtain computers over a network and to retrieve that infOlmation
  to your desktop computer.
  The first part of this chapter provides basic background information about
  AppleSearch and information retrieval concepts. The rest of the chapter provides
  an overview of the AppleSearch software and how you use it to search for and
  retrieve information.




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    Gathering and sharing information
                         Information plays an increasingly important role in the operation of today's
                         organizations. With the proliferation of computers, more and more of the
                         information we use is maintained electronically and may never be printed.
                         Consequently, the traditional methods of managing information are rapidly
                         becoming obsolete.

                        Today's organizations must address information needs such as these:
                         • Preserving the "institutional memory." Preserving the knowledge and
                           experiential information that you and your coworkers develop can improve
                           planning and prevent costly mistakes.
                        • Managing organization-specific information. Keeping documents such as
                          forms, policies, standards, and procedures accurate and accessible helps you
                          to be more productive.
                        • Enabling workgroups to share information. Today's organizations tend to be
                          organized into workgroups whose members need to share information to get
                          their jobs done.
                        • Protecting proprietary information. Keeping strategic plans and trade secrets
                          confidential can be critical to your organization's success.
                        • Providing access to necessary information produced both inside and outside
                          the organization. Providing information in a timely, accurate manner to you
                          and your workgroup helps maximize individual and team effectiveness.

                        These needs have led to a recent trend in information management, in which
                        certain types of shared infonnation are managed centrally within the organization,
                        and others are managed by the workgroups that produce them.
                        To share information in any meaningful way, computers must be connected by a
                        network. In one common network scenario, the computer requesting infoffi1ation
                        is called a client, and the computer on which that information resides is called
                        a server. Usually the server is a computer that is configured specifically to
                        support efficient, rapid, secure access to its resources. An AppleShare server is
                        an example of this kind of server. However, a server can be simply a computer
                        that offers access to its resources over a network (for example, through the
                        Macintosh file-sharing feature of System 7).




    2   Chapter 1 / About AppleSearch




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Managing information with AppleSearch
               The AppleSearch Client and AppleSearch Server programs cooperate to obtain
               the information you need. The client software helps you to quickly and easily
               request information that meets your requirements. The server software finds
               documents that contain the information you requested and delivers that
               information to your computer.

                    AppleSearch server software
               As an AppleSearch user, you use the client software. Your administrator uses
               the server software on your behalf. This section briefly describes the server to
               help you better understand how AppleSearch works. For detailed information
               about the server, see AppleSearch AdministratOl<v Guide.
               The AppleSearch server software comprises one main program, AppleSearch
               Server, and a few smaller components, including the optional WAIS Gateway
               feature. AppleSearch Server performs four main functions:
               • It prepares your organization's documents for searching.
               • It searches for the information you request.
               • It ranks the documents that it finds.
               • It gives you easy access to those documents.

               By building upon Macintosh file-management and file-sharing techniques,
               AppleSearch can make information readily available to you through shared
               volumes on the AppleSearch server. These volumes are called local information
               sources. AppleSearch Server creates comprehensive indexes to all the meaningful
               words in local information sources so that your searches don't miss any
               relevant documents.




                                                         Managing information with AppleSearch    3




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                        The files in a local information source are stored on the AppleSearch server. As
                        shown in the following figure, these files do not have to be documents created
                        and maintained by your organization. They can also be CD-ROM-based
                        documents such as policies, procedures, and reports, or even files from online
                        information providers. Typically, these providers transfer (or download) files
                        to your work site over a satellite broadcast or cable transmission-a mechanism
                        known as an online feed. AppleSearch processes these downloaded files as it
                        does those created on your own computer.

                        AppleSearch server
                                                         Files from
                                                        online feeds




                                                         CD-ROM


                                                         Files from
                                                       local network
                                             ...+--....,c-


                       Using sophisticated searching techniques, the server processes your information
                       requests to search all the documents that contain the information most likely to
                       answer your criteria. To help you immediately identify the most meaningful
                       documents, AppleSearch displays text versions of the documents in the list,
                       ranked according to their relevance to your request. Once you have identified
                       the documents you want to use, you can print the text and even copy the
                       original documents from the information source to your hard disk.
                       If the optional WAIS Gateway feature is installed, the server also allows
                       access to collections of documents maintained outside your organization. The
                       AppleSearch Server program presents such documents to users as remote
                       information sources, which can be searched as though the documents they
                       contain were stored on the AppleSearch server.




   4   Chapter 1 I About AppleSearch




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  AppleSearch cUlTently supports one type of remote information source, known
  as a WAIS information source. (WAIS, pronounced wayz, stands for wide area
  information server.) An AppleSearch WAIS information source represents
  information stored in an information database on a remote computer called a
  WAIS server. The following figure shows the logical relationship between the
  WAIS information source and the WAIS database it represents.

  AppleSearch server                               Remote WAIS server




                                   WAIS                       WAIS database




  The organization that Qwns the WAIS server maintains the WAIS database and
  makes it accessible for searching over its local area network or a large network
  called the Internet. The Internet, established in the early 1970s by various
  research institutions, is a worldwide collection of interconnected networks
  accessible to the public. The Internet has expanded rapidly and is now widely
  used by organizations such as universities and research institutes around the
  world to share information. The following figure depicts an AppleSearch
  server connected to these organizations over the Internet.




                                           Managing information with AppleSearch   5




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                         AppleSearch server




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                                                                                 Business



                                                                  Internet

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                                               ~  /I
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                                               [mm=p]
                                                c=:Jl]
                                                c=:Jl]
                                               .c=:Jl]

                                              Government                      Research
                                                agency                       organizaliojl


                        The WAIS Gateway feature of the AppleSearch server software is responsible
                        for interaction with WAlS servers. This interaction consists primarily of
                        locating available WAlS servers, connecting to them, and managing search
                        and retrieval communications with them.

                        Your administrator selects the WArS databases that AppleSearch Server presents
                        to you as WArS information sources. You use WArS information sources just
                        as you use local information sources.

                              AppleSearch client ",n.,,,.,,,,,,'''''
                        As an AppleSearch user, you run the AppleSearch client software on your
                        computer. (This software comprises the AppleSearch Client program and two
                        extensions, AppleSearch Authentication and AppleSearch Communication.)
                        AppleSearch Client provides search agents called reporters, which perform
                        four main functions:




    6   Chapter 1 I About AppleSearch




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  • Help you specify a search request.
  • Send your request to the AppleSearch server to be processed immediately
    or at a time that you specify.
  • Display the results of your request.
  • Copy original documents to your hard disk.

  The following figure shows the simple steps required to use AppleSearch
  Client.


   Information search and retrieval with AppleSearch

                                 You create a new reporter and
                                 specify a search request.


                                 You specify an immediate search
                                 or schedule your reporter to
                                 deliver a newspaper-like update
                                 to your computer.

                                 The reporter searches the
                                 indexes of the selected
                                 information sources for articles
                                 that match your search request.

                                 The reporter delivers the search
                                 results to your computer for you
                                 to view.

                                 You can choose to have the
                                 original document (for example, a
                                 MacWrite file) sent to your
                                 computer.




                                             Managing information with AppleSearch   7




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                               To perform a search, you must first create a reporter. The following figure
                               shows a new reporter.

                                Click to start the                                 Click to schedule                       Click to name the
                                search after you've                                searches for new or                     reporter and save it to
                                specified your criteria.                           modified information.                   the server.


                                                                                                                                          Specify here the
    Click to select - - - - + - - f                                                                                                       level of relevance
    information sources                                                                                                                   you will accept.
    to be searched.
                                 Search for:                                                                                         Specify here the
                                     information database- search retriE'yal
                                                                                                                                     maximum number of
    Specify here the - - - - - I f                                                                                             HI-l-
                                                                                                                                     articles you want your
    words you want the
                                                                                                                                     reporter to return.
    search to find.
                                 v      ~ CorporatE' News                                  I rE'turMd out of 1 matchE's"
                                                                                                                                          Specify here that
    Double-click to open --+--[jJ ***** 5/19/94                                Apple-Se-arch Overview                                     documents dated
    the document and                                                                                                                      later than this date
    view its contents.                                                                                                                    are to be searched.




                                                     Indicates the relevance of the
                                                     article to your search criteria.


                               In your own words, you ask an AppleSearch reporter for information on a topic.
                               You can further stipulate that the reporter should return no more than a specific
                               number of documents, and that it should ignore documents dated before a
                               certain date or ranked as having less than a particular degree of relevance to
                               your request.
                               Note: If you are familiar with information search-ancl-retrieval technology, you
                               may have used Boolean operators. AppleSearch supports Boolean operators in
                               search requests, but does not require them. Chapter 4 explains the use of
                               Boolean operators in AppleSearch search requests.




    8     Chapter 1 I About AppleSearch




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                              You can tell your reporter to immediately retum information about all documents
                              meeting your criteria. Altematively, you can schedule your reporter to periodically
                              deliver only information about documents with new or changed content. By
                              clicking the mouse button, you can display the text of documents that interest
                              you in the form of AppleSearch articles to determine whether those documents
                              meet your needs. Eaeh article appears in its own window.

                              If you specify an immediate search, the reporter displays the titles of documents
                              that meet your search criteria, ranked in order of relevance to your search
                              request. By double-clicking the icon next to a title, you can then view each
                              article, as shown in the following figure.

                              Click here to copy the                                                                   Click these buttons to
                              document (for example, a                                                                 find and highlight the
                              MacWrite file) to your hard                         The title of the                     next word that matches
                              disk in its original format.                        article/document.                    one of your search words.

                                                                                                                           ·······--0~

Click here to save --1-----1
the enti re text of the l-_s_ov_e·_T~ex~t~
                                        .. _ _ _    co..:..PY,-O_r...:i9_i"_.1_._ _ _ _ _ _ _ _ _ _ _ Match'O's
article as a file on     AppleS.arch js lhe Maci nlosh solution to j nformation overload. 00. result oft he information age i
your hard disk.          that we seldom have to ",orri) about not having enough information. Instead, we often face large
                               vol ume, of documenb as w. attempt 10 'ifI out Ihe informalion lhat ha, mean; ng 10 u. and the wor
                               we do. What 'We need is managed access to meaningfljl information.
                               AppleSearch 13 a full-Iext s.arch and relrieval application. In effect, it build. ~our organization'
                               information into an electronic library_ for example, \IOU could ask for copies of all the documents
                               dated after January 1989 that discuss computer graphic. and have tho.e document> sorted by how
                               11 kel iJ they are to meet lJour requi rements. Furthermore I you can pubhsh your own documents in
                               this library, to be .hared with other members of your workgroup.
                               The first part of this chapter provides basic background information about Macintosh client!
                               server and information retrieval concepts. If ~ou are familiar with the •• concepts, you may want
                              ,to skip to the section ~'Man6ging Information With AppleSearch/' which provides an overview of
                               the AppleSearch 30(\w.re.
                              ~ Gathering and sharing information
                              , I nformation pla~s an i ncre"i ngl ~ i mportenl role in the operalion of today's organization•. With
                               the proliferation of computers, more and more of the information we use is maintai ned
                               eleclronically eM may never be printed. Con3equenll~, the traditional methods of managing

The current ~---iljm·~M~'!IM1Ii=~a~re~r~ap~id~l~y~beico~miin~9~.~b,~ol~e.[,e~.~~~~~~~~~~~~~llId~
matched word.              ¢                                                                   I"J



                              When you find artieles you want, you can copy them to your computer-
                              usually in their original format, including any graphics, sound, and video they
                              may contain.




                                                                                                     Managing information with AppleSearch         9




                                                                                                                                                       APLNDC630-0000441848
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                             If you schedule your reporter to perform periodic searches, you receive
                             your results in a newspaper-like format called an update, as shown in the
                             following figure.

                                                      Number of articles
                                                      in your update.

                                                                        Charles Dickens 4/27 /93
                               Adicl~s in Update:    24
                                                                                                         r - - - - - - - - - / - Double-click to see
        Date the update        Tuesday J Apr-il 27, 1993
                                                                                                                                                           the entire text.
        was delivered.
                                       Social Criticism in the Works                                                                            --!::::!-The article title.

        Date the article      Monday" April 5. f 993                                    Saturday" April 3 # t 993

        was last modified.
                              SQurc(': literature
                                                                                        :So~u~r':::•.:.'':b~·t~or~a~.u~r~'=========i1- Name of the
                                                                                         Djckitn$ Explic~Hon
                                                                                                                                                           information source
                                                                                         Bl ... ~k Housl?; Mrs. Pardi99le'S yj .. it to Torn-all-
                                                    ill Prison
                                                                                                                                                           that contains
                              Throughout O)Jvl:'r Twis\, many of th" characters          Mrs. P~l"d'991e, who accornpanit'd Esther and Ad~
                              alter th~ir rE-htionship with 50cieh], slJch as when       '1.0 the brickrnaker '5 house, already eshb5lished                this article.
        First few lines       Oliver riSE'S \0 a MW socio('conomic status or Nancy       herself as utterly useless. The brickrn .. ker's
        of text.              adopts a l'1ew code o(tnordHty. But thE' most
                              (ilscir..atinq ir.\e-rMI SWlhg occUrS within Faqan, who
                                                                                         irnpov.. rish€-d community has itntnedi .. te health
                                                                                         care M€-ds, yel Mrs Pardlggle's donation
                              until the vert,J E'nd of the Mvel dernol'lStrates          con5,sts of baby books-~(or .. dul~s who are
                              absollJtely no inirospedion or irrte-nst in his            UMble to read Esther is th€-        charactE'l"
                              r~lationsh;p to soeiE't'J _He r.,.mains th.. i'SSE'nce                                          ,lnd weepinq.
                              of ('vil until, sHtiotj in thi' cold, dark, damp prison                                              with a
                                                                                                                                 in the London



                                       The Boy Who Wan led More in                                Dickens 6' little Doni!


                                                                                        Mondil9, April '5 J' I 993




                             By double-clicking the icon next to an article title, you can view the entire text
                             of that article, in its own window.




   10    Chapter 1 I About AppleSearch




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  Getting Started



  Before you can make information searches with AppleSearch, you must install
  the AppleSearch client software on your Macintosh computer and then use
  AppleSearch to connect to an AppleSearch server. This chapter describes the
  software and hardware you need to begin, provides software installation
  instructions, and tells you how to connect to a server.




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    Installing AppleSearch on your computer
                           To install and, use AppleSearch on your Macintosh computer, you need the
                           following software and hardware:
                           • A Macintosh computer or a Power Macintosh computer running system
                             software version 7.0 or later. (From the Finder, you can find out what system
                             software version you arc using by choosing About This Macintosh from the
                             Apple [tI] menu.) Your Macintosh computer must be physically connected
                             to an AppleSearch server.
                           • At least 4 megabytes (MB) of random-access memory (RAM).
                           • A high-density floppy disk drive (for installation only).
                           • The AppleSearch Client Installer disk
                           Note: Versions of the AppleSearch Client program later than 1.0.1 do not
                           communicate with earlier versions of the AppleSearch Server program.
                           Likewise, versions of the AppleSearch Server program later than 1.0.1 do not
                           communicate with earlier versions of the AppleSearch Client program.




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    To install the AppleSearch client software on your computer:

    Insert the AppJeSearch Client Jnstaller disk into your floppy disk drive, open the disk, and
    double-click the Installer icon to open the program.
    The Installer dialog box appears.

              Install

            [Ii(k lhe Inslall Dutton 10 inslall
               • IIppleSeanh Client




            on lhe hard disk named
               HUAction




      3.4




2   Select the disk on which you want to install AppleSearch; then click Install.
    If any application programs are open, an alert box will appear on your screen,
    telling you that the Installer cannot install the AppleSearch software on your
    Macintosh computer. You can choose to quit the open programs and continue
    the installation process or to cancel the installation process.
    When the installation is complete, a message appears, telling you that installation
    was successful. An AppleSearch Client folder appears at the root level of your
    hard disk.
    Your AppleSearch Client folder contains the AppleSearch Client program, a
    Read Me file, a sample update, and the SimpleText program that allows you to
    view the Read Me file. You can move these files.




                                                   Installing AppleSearch on your computer    13




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                          Three other components of the AppleSearch Client software are also installed
                          in folders inside your System Folder:
                          • the AppleSearch Client Help file (in the Preferences folder)
                          • the AppleSearch Communication Extension file (in the Extensions folder)
                          • the AppleSearch Authentication Extension file (in the Extensions folder)

                          You must leave these files where they are or AppleSearch will not work.
                          The AppleSearch Client Help file contains text and graphics to explain the
                          features of AppleSearch and how you use them. The AppleSearch
                          Communication Extension controls information exchange over the network.
                          The AppleSearch Authentication Extension verifies the access privileges of
                          registered users and guests.


   Getting help with AppleSearch
                          Two types of online help are available with AppleSearch once your client
                          software is running. Balloon Help provides brief explanations of the items that
                          appear on your screen. AppleSearch Help provides more in-depth instructions
                          for using AppleSearch. You can choose both kinds of help from the Help menu
                          (indicated by the question mark in the menu bar) any time you're working
                          with the AppleSearch program.


                             About Balloon Help ...

                            ShoLLl Balloons

                            RppleSearch Help




    14   Chapter 21 Getting Started




                                                                                           APLNDC630-0000441853
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#"'.n,fi'llfi'»';;;'f'1i'Ulrlan   to an AppleSearch server
                                        To make information searches, you must first connect to the AppleSearch server.

                                        To connect to an AppleSearch server:

                                        Open your AppleSearch Client folder; then open the AppleSearch Client program.
                                        The "Select an AppleSearch server" dialog box appears. If your network contains
                                        zones, they are listed in the lower-left comer of the dialog box. If your network
                                        does not contain zones, skip step 2.
                                        The Macintoshes list in the upper-left comer of the dialog box displays the names
                                        of the computers that are registered with the network as AppleSearch servers.

                                                            Select an RppleSeurch semet·
                                                    Macintoshes                      Programs
                                           1-·                               App 1eSe<lrch Server




                                                  IlppleTalk Zones
                                          Bui 1di ng 3i4-North           I

                                          Buildin'~ 3/4~Solltl1
                                          Buildlng 3/Tokel1 Ring
                                          BlIil,jing 7
                                          Deskto~1 CPU
                                          Suppor-t Center                              Cancel   1 K OK

                                   2    Select the name of the zone in which your AppleSearch server resides.
                                        See your network administrator if you're uncertain about the location of the
                                        AppleSearch server.

                                   3    In the Macintoshes list, select the name of the Macintosh computer or Workgroup Server
                                        that you want to use. In the Programs list on the right side of the dialog box, select the
                                        AppleSearch Server program .




                                                                     ---.---------------- ---
                                                                     .

                                                                                              Connecting to an AppleSearch server   15




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                       4   Click OK.
                           A dialog box appears. In this box you identify yourself as a registered user or
                           guest user of the server.



                                       Enter your pas.sword


                                         o Guest
                                         (~ Registered User

                                         Name:

                                         PaSslllord:
                                                       '-----'




                       5   Select either Registered User or Guest, to tell AppleSearch how you want to connect to
                           the server.
                           The next two sections explain more about the two ways of connecting. Your
                           network administrator determines whether you can connect as a registered user
                           or guest. Registered users can save and schedule reporters (described in the
                           next chapter); guests can only perform immediate searches. If necessary, see
                           your network administrator if you want to be designated as a registered user.

                           Connecting as a registered user
                           If you are a registered user, you connect to the server by clicking the Registered
                           User button. Then you type your name and password in the text boxes provided
                           and click OK.
                           Note: AppleSearch uses your AppleShare password. When your AppleShare
                           password changes, you must use the new password with AppleSearch as well.

                           When you connect, the AppleSearch window opens. The window will display
                           information about AppleSearch reporters, which you ereate as described in the
                           next chapter.




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                   Connecting as a guest
                   To connect to the server as a guest, you click the Guest button and then you
                   click OK.
                   When you connect, a reporter window opens. As a guest, you can use the
                   reporter window to conduct immediate information searches, as discussed in
                   the next chapter. The Schedule Search and Save Reporter buttons in the reporter
                   window are dimmed because these features are unavailable to guests.




                    Search for:                       Search Options: - - - - - ,
                                                     Minimum Rank:       c::::3
                                                     MaHimum Relur-ns:      ~
                                                      After lIale: L i l l i 801




                                                               Connecting to an AppleSearch server   17

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                              Displaying the "Select AppleSearch server"
                              dialog     automatica!ly
                              AppleSearch can be preset to display the "Select an AppleSearch server" dialog
                              box each time you stmt your computer. In this way, you can select an AppleSearch
                              server without having to first open the AppleSearch application.

                              To have AppleSearch automatically prompt you to select an AppleSearch server
                              each time you start your computer:

                         1    Connect to an AppleSearch server and choose Preferences from the Edit menu.
                              The Preferences dialog box appears.



                                 r~-OefaUIt I n formation Sources ~~~
                                     o fill          0 last used
                                                         ~~         ~




                                 I8l Highlight matching wOf~ds in articles
                                 D Display the semel" select dialog bOHat slll:rtup

                                                         ,------~, It iliU

                         2    Click the checkbox labeled "Display the server select dialog box at startup" so that a
                              checkmark appears in it.

                         3    Click Save.
                              When you restart your computer, the "Select an AppleSearch server" dialog
                              box will appear automatically.

                              You can change your preferences at any time that you are using the AppleSearch
                              application. Refer to "Setting Preferences" in Chapter 3 for descriptions of all
                              the preferences settings.




       18   Chapter 2 / Getting Started




                                                                                                  APLNDC630-0000441857
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  Creating and Using an AppleSearch Reporter



  This chapter tells you how to perform information searches and how to retrieve
  documents based on the results of those searches.




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     What is an AppieSearch reporter?
                           An AppleSearch reporter is an electronic agent analogous to an investigative
                           news reporter. Once you tell it what you want to know, it finds all the pertinent
                           information it can and organizes that information in a way that meets your needs.

                           Performing a search requires four simple steps:
                           1. Creating an AppleSearch reporter.
                           2. Identifying the information sources you want to search. (An information
                              source is a shared volume or folder of documents that your network
                              administrator has made available for searching.)
                           3. Specifying a search request. (A search request is little more than a question
                              typed in your own words, along with a few directions to help the reporter
                              narrow its search.)
                           4. Initiating the search.

                           You create a reporter in its own window and, if you want, you can save it for
                           future reference. But unlike most files you create and save, your AppleSearch
                           reporter is not static: It actively finds the information you want on the server
                           and makes it available to you. In general, to create a reporter, you need only
                           specify what to look for and where.

                           AppleSearch Client displays a list of information sources available to you. By
                           selecting the information sources from the list, you tell the reporter which ones
                           to search.




     20   Chapter 3 / Creating and Using an AppleSearch Reporter




                                                                                         APLNDC630-0000441859
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                  The reporter presents your search request to the AppleSearch server, which then
                  matches your search words against the textual content (the text of the
                  documents, excluding their titles) of the information sources you specified.
                  The AppleSearch server, in a process called relevance ranking, rates the
                  documents it finds according to how well they answer your search request.
                  You can have your reporter perform an immediate search to ensure that you
                  see all the relevant documents in the information sources you have specified.
                  Your reporter then presents you with a list of the document titles, organized in
                  order of relevance. You can use the relevance rankings and titles to determine
                  whether you want to view the documents as text-only articles. After viewing
                  the article, you may want to save the text of the article to your hard disk or to
                  copy a document to your hard disk in its original format (for example, as a
                  MacWrite document).
                  Typically, you should run immediate searches until you have refined your
                  search criteria to give exactly the kind of results you want. Once you have a
                  reporter that works well for your needs, you can save it to use again later or to
                  share with others.
                  After you have evaluated the results from your immediate search, you can
                  schedule your reporter to provide you with information from new or modified
                  documents that match your search criteria. This information is stored in a file
                  that is delivered to your hard disk at the time and date you specify. This file
                  contains all the articles relevant to your search criteria. Your reporter displays
                  the beginning of each article in a format much like that of the front page of a
                  newspaper. If the beginning of an article interests you, you can easily view the
                  entire contents of the article.




                                                                 What is an AppleSearch reporter?   21

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                          The following illustration provides an overview of the search process:


                            Information search and retrieval with AppleSearch

                                                             You create a new reporter and
                                                             specify a search request.


                                                             You specify an immediate search
                                                             or schedule your reporter to
                                                             deliver a newspaper-like update
                                                             to your computer.

                                                             The reporter searches the
                                                             indexes of the selected
                                                             information sources for articles
                                                             that match your search request.

                                                             The reporter delivers the search
                                                             results \0 your computer for you
                                                             to view.

                                                             You can choose to have the
                                                             original document (for example, a
                                                             MacWrite file) sent to your
                                                             computer.



                         Here are some key points to keep in mind while working with your
                         AppleSearch reporter:
                         • Your reporter finds and displays only the text of articles. When you open the
                           article viewing window to display the text, you have the option of copying
                           the original formatted document from the server to your own hard disk .
                         • When yon type a search request in the "Search for" box, you must use only
                           alph,mumeric characters (letters and numbers without punctuation). Also be
                           aware that the words and, or, and not have special meanings in AppleSearch.
                           See Chapter 4, "Phrasing Search Requests," for more information on how
                           your reporter interprets your search request.




    22   Chapter 31 Creating and Using an AppleSearch Reporter




                                                                                                 APLNDC630-0000441861
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                • Your reporter, and any local information sources it searches, are stored on
                  the AppleSearch server to which you are connected.
                  If you're not actively using AppleSearch, you can quit the AppleSearch
                  application; if you have scheduled searches pending, the connection is kept
                  open so that updates can be delivered.
                • A single reporter can search an unlimited number of information sources on
                  a selected AppleSearch server. However, a reporter can search only the
                  information sources provided on that server. (Each AppleSearch server can
                  provide numerous WArS information sources whose documents can reside
                  on many different WArS servers.) If you connect to a new AppleSearch
                  server, you must create a new rep011er.
                • WAIS information sources can be used as if they reside on the AppleSearch
                  server, although the actual text resides on the remote WAIS server.
                • Your reporter can be saved for later use, and you can share reporters by
                  importing and exporting them. The procedures for saving, importing, and
                  exporting rep011ers are described later in this chapter.
                • You can use your reporter to obtain results immediately, or you can schedule
                  your reporter to deliver periodic updates. If you choose to     results
                  immediately, then you will view the article from your computer as it resides
                  on the server. If you choose to schedule periodic updates, your reporter will
                  deliver the updates to your own hard disk. To receive updates, you must be
                  connected to the server at the time the report is scheduled. The procedure
                  for scheduling updates is described later in this chapter.
                    Any number of reporters can create and deliver updates to you, but you
                  . cannot have multiple reporters contributing to the same update.



Creating a reporter
                When you create a reporter, you tell it where to look (by specifying information
                sources), what to look for (by specifying a search request), and when to look
                for the information (immediately or on a scheduled basis). The following sections
                tell you how to perform all of these functions as well as how to modify search
                options to broaden or narrow the scope of your search.




                                                                           Creating a reporter   23




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                              Opening a new reporter window and specifying
                              information sources
                              Before you initiate a search, you must select at least one information source-
                              that is, a shared volume or folder containing information you can search.

                             To select information sources:
                         1    In the AppleSearch window, click the New Reporter button to open a new reporter window.

                                D                       AppleSearch ..                  ..... ElL




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                             The reporter window opens. This window allows you to set up a reporter.

                              Click to start the               Click to schedule                    Click to name the
                              search after you've              searches for new or                  reporter and save



                                                                                                                  Specify here the
    Click to select ----+---+                                                                                     level of relevance
    information sources                                                                                           you will accept.
    to be searched.        Search for:                                   ,--Search Options: -;:::::==71
                               , , - - - - - - - - - - - - - - , - - 0 : 0 Minimum Ranle:                         Specify here the
                                                                                                                  maximum number of
    Specify here the - - - + ' -                                                                        I--l--l--
                                                                                                                  articles you want your
    words you want the
                                                                                                                  reporter to return.
    search to find.
                                                                                                                  Specify here that
                                                                                                                  only documents
                                                                                                                  dated later than
                                                                                                                  this date are to
                                                                                                                  be searched.




    24    Chapter 31 Creating and Using an AppleSearch Reporter




                                                                                                                  APLNDC630-0000441863
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2   Click the Info Sources button or choose Information Sources from the Search menu.
    The Information Sources window opens. The left side of the window lists all
    of the available information sources that your reporter can search. A WAIS
    information source is identified by the globe in its icon .

                             ........... - - _ Information Sources

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        m; ;It.'l"pher
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        .{~3 \'''''e<:ither Wliterrr3
              8 USl ness ne-o//s
              Plants
                                              ff   none     n


    AppleSearch can preselect all available information sources, or reselect the
    information sources you used last time you conducted a search. You can adjust
    this setting any time by choosing Preferences from the Edit menu, as described
    in the "Setting Preferences" section later in this chapter.
3   Review the available information sources in the list at the left side of the Information
    Sources window and click the ones that are most relevant to your search.
    When you select an information source, the Add button becomes available. To
    select a group of consecutive information sources, hold down the Shift key and
    click the first and the last information source in the group. To select multiple
    information sources one at a time, hold down the Command key and click the
    individual sources.




                                                                        Creating a reporter    25




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                                                          I nformation Sources

                                             Dept's Macintosh


                              Available SQurces:                              Search These Sources:




                     4    Click the Add button to specify that the selected sources should be searched by the
                          AppleSearch reporter.
                          The sources that you specified in step 3 appear in the list at the right side of the
                          window. On the left side of the window, the icon of each selected information
                          source is dimmed to indicate that the source has been added.

                                                          Information Sources ==---.....

                                             Dept's Macintosh


                              Available Sources:                              Search These Sources:

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                                                                                 .:ro Literature
                                  Litt;!t".;,ture
                                  BtbJiol)rsphie8
                                  'A·'Bather p~ttern~


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    26   Chapter 3 f Creating and Using an AppleSearch Reporter




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     5 If you decide that a source you selected is no longer appropriate, select its name in the
         list at the right side of the window; then click Remove.
         When you select an information source that has been added, the Remove button
         becomes available.
         To select a group of consecutive information sources, hold down the Shift key
         and click the first and the last information source in the group. To select
         multiple information sources one at a time, hold down the Command key and
         click the individual sources. To close the Information Sources window without
         keeping any changes, click CanceL

                                    Information Sources   =-"
                       Dept's Maeintosh

            Available Sources:                        Search These Sourc("s:




         Shortcut for adding and removing information sources To quickly add an
         information source to, or remove it from, the lists of sources to be searched,
         double-click the information source. You can also select the information source
         and use the arrow keys, as follows:
         • Up arrow: Selects the information source above your current selection
         • Down arrow: Selects the information source below your current selection
         • Right arrow: Adds the selected available source as a source to be searched
         • Left arrow: Removes the selected source from the list of sources to be searched




                                                                               Creating a reporter   27


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                    6    Click Done when you have finished adding or removing information sources.
                         The Information Sources window closes.
                         The names of the selected information sources are listed in the bottom of the
                         reporter window.

                                                                                          --E!l§



                                              Start SI.:'arch

                                                                         -S",mr·h Options: - - - -
                         , - - - - - - - - - - - - - . . , . . . , . . , Minimum Rank:




                        Specifying your search request
                        After you select information sources, you can type your search request. If you
                        want, you can also specify search options. The options available to you are to
                        specify a minimum relevance rank, determine the number of articles that
                        AppleSearch returns, and choose the earliest modification date that articles
                        must have in order to be returned.
                        For detailed information on creating search requests and on refining them to get
                        the most precise results, read the appropriate sections in Chapter "Phrasing
                        Search Requests."

                        Typing a request
                        A search request consists of one or more words related to the information you
                        want to find. You can type uppercase or lowercase letters; AppleSearch is not
                        case sensitive. AppleSearch will search for articles containing any or all of
                        these words.




   28   Chapter 31 Creating and Using an AppleSearch Reporter




                                                                                                     APLNDC630-0000441867
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      To type a search request:

III   In the "Search for" box, type (or copy and paste) any word or phrase that relates to the
      information you want to find.

      IMPORTANT Use only alphanumeric characters (letters and numbers) and avoid
      using the words and, or, and not, which have special meaning in AppleSearch.
      For more information on how AppleSearch interprets your search request, see
      Chapter 4, "Phrasing Search Requests."




       l>   rn, poetry
       t> .j]lii:';-f"lItur.;.




      The search request in this example will cause AppleSearch to look in the
      infOlmation sources called "poetry" and "Literature" for articles that contain
      one or more occurrences of the word Shakespeare.

      Ranking the articles
      Relevance ranking is a statistical measure that evaluates all the articles in a
      given information source that meet your search criteria and lists them in order
      of relevance. When you specify the Minimum Rank option, you set a lower
      limit on how relevant the articles must be in order to be returned.




                                                                        Creating a reporter   29




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                               You can skip this step unless you want to change the default setting for the
                               minimum relevance rank (one *) that AppleSearch uses when evaluating which
                               articles are relevant to your search. See "Understanding Relevance Ranking"
                               in Chapter 4 for more information.

                               To rank the articles:

                               Click the star (*l in the Minimum Rank box.
                               Up and down arrows appear to the right of the box.

                          2    Type the number of stars (from 1 to 5) to set the minimum rank, or click the arrows to
                               reach the number you want.

                                 Search Option~: -------,
                                Minimum RanI<:      I 11        [;1
                                MaHimum Returns:        ~
                                After Date.:   I   1.1 1! 801



                               limiting the number of articles returned
                               This option limits the number of articles that AppleSearch returns from each
                               information source. The articles returned are those found to be most relevant
                               to your search.

                               When you conduct an information search, your reporter indicates that a certain
                               number of documents were returned out of all matches. For example, if
                               AppleSearch states that 20 articles were returned out of 50 matches, you know
                               that 50 articles matched your search criteria in some way but only 20 articles
                               were returned. If the number returned is less than the number matched, the
                               cause is frequently that the maximum number of articles that you specified has
                               already been reached.

                               You can skip this step unless you want to change the default setting (20) for
                               the number of articles that AppleSearch finds for you.

                               If you're connected to a WAIS infOlmation source, ApplcSearch returns a maximum
                               of 40 matches, regardless of the number of matches in the WAIS database. The
                               WAIS protocol limits the number of matches on a single WAIS information
                               source to 40, without notifying you whether more matches were likely.




         30   Chapter 3 I Creating and Using an AppleSearch Reporter

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    To limit the number of articles returned:

    Click the Maximum Returns box.
    Up and down an-ows appear to the right of the box.

2   Type the number of articles (from 1 to 99) you want returned or click the arrows to reach
    the number you want.

    I-~~alch Options; - - - - - ,
    : MInimum Rank;      c=3
     Mallimum Returns:    ImI 1;1
    l~fler Oate; I      1/ 1/ 801



    Specifying the modification date
    This option specifies the earliest modification date that articles must have in
    order to be returned. Documents created or modified before the date you
    specify here are filtered out.
    You can skip this step unless you want to change the default setting (January 1,
    1980) for the beginning date AppleSearch uses when looking for relevant
    documents.

    To specify a modification date:
1   Click the month, day, or year in the After Date box.
    Up and down an-ows appear to the right of the box.
2   Click the part of the date that you want to change and then either type the appropriate
    number or use the up and down arrows to change the date.

     searCh Options;




    ~
    Minimum RanI:::      c=3
    Mallimum Returns;          [:?Q]
    . Rfter Date:   I   11 1Iml [;1




                                                                      Creating a reporter     31




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    ~nitiating a search
                          After you specify a search request and information sources and, if necessary,
                          adjust your search options, you're ready to conduct a search. You can choose
                          either of two types of searches: immediate or scheduled. For example, you might
                          run an immediate search to get a quick view of a topic, then refine your search
                          criteria and schedule your reporter to send you regular updates on that topic.

                          Obtaining search results
                          To obtain immediate search results, you need to start the search and then view
                          the articles that have been retrieved. Then, if you want, you can copy information
                          from an article to any document, save the text of the entire article, print the
                          article, or copy the article in its original format. To further refine your search,
                          you can copy and paste a phrase from the article into the search request box
                          and run the search again.




    32   Chapter 3 / Creating and Using an AppleSearch Reporter




                                                                                            APLNDC630-0000441871
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                        The following illustration shows how AppleSearch pelforrns an immediate search.


                         Client/server interaction-an immediate search
                         Client                           Server




                          You define a search request by                The reporter immediately searches the
                          creating a new reporter.                      indexes of the selected information
                                                                        sources for articles that match your search
                                                                        criteria.




                          You review the search results and             The reporter finds matches to your search
                          select articles for viewing.                  request, ranks them, and informs you of
                                                                        the results of the search.




                          After viewing the full text of the article,   The server extracts the text from the
                          you can choose to save a copy of the          original documents and makes it available
                          text to your own computer.                    for you to view.



                                                                                      Q
                                                                                     D
                          Alternatively, you can request the            The server delivers the formatted
                          original formatted document                   document to your computer.
                          (including any graphics) if it is in a
                          local information source.




                                                                                                    Initiating a search   33

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                          The AppleSearch reporter searches for the articles most relevant to your search
                          request and indicates how many articles were returned out of the total number
                          of articles that matched your search criteria. After the search is complete, you
                          can view the list of returned articles.

                          In the following illustration, AppleSearch indicates that 20 articles were returned
                          out of 50 matches for the corresponding information source. The other matching
                          articles were not returned because of the Search Options settings. (For example,
                          perhaps the number of maximum returns was already reached. In this case, the
                          user could expand the Search Options parameters to allow other matching
                          articles to be returned.)

                                                  Untitled Reporter-l



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                         Note: A search on a WAIS information source will obtain 40 matches at most.
                         If the number of matches reported is exactly 40, you can safely assume that
                         not all the matches were returned. You should further refine your search
                         request; then run the search again.




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    To start the search and view the returned list of articles:

    Click the Start Search button at the top of the reporter window.
    While the AppleSearch reporter is looking through the information sources,
    the word searching appears next to the name of the information source being
    searched. Then, when the search request is completed, the reporter indicates
    how many articles were returned and the total number of articles that were
    relevant to your search criteria.

2 Click the triangle to the left of the information source icon, or double-click the title of the
  information source.
    A list of article titles is displayed.

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    In the previous figure, the articles returned are organized by relevance, but you
    can also specify that the list be organized by information source, title, or date.
    You use the View menu to change the way the list is organized. When you have
    AppleSearch organize the alticles by title or date, one list of article titles from
    all the selected information sources appears.
    Note: Some WArS servers do not return article date information. The date line
    for such articles contains a single hyphen.




                                                                                Initiating a search   35




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                         Using the results of your search
                         After you complete the search, you can view the contents of any article, copy text
                         from an article to a document, copy the article in its original format, save the
                         article, or print the article. To further refine your search, you can copy and paste
                         a phrase from the article into the search request box and run the search again.

                         The following figure shows a sample article, displayed in an article viewing
                         window.

                                                           Click to copy entire                                  Click to find previous occurrence
                                 Click to save             document in its                                       of matching search word. (Local
                                 entire text.              original format.                                      sources only.)



                                                                                                                     rw---+- Click to find next
                                                                                                                                     occurrence of
                          AppleSearch is the Mad ntosh solUtion to information overload. One result (If the information age          matching search
                          that we seldom have to worry about not having enough information. Inste{)d, 'vie often face large          word. (Local
                          vol ume. of document. a. we attempt to .ift out the inform,tion th.t he. me.ni ng to u. ond the
                          we do. What we need i3 managed BecelS to meaningful informafloo.                                           sources only.)
                          AppleSearch 13 a full-text ••arch and retrieval application. In effect. it builds
                          lnformation into 8n electronic li bran;. for example; you could 8:8k for copies
                          dated after January 1989 that discuss computer graphic. and have tho.e document. ,orted by
                          likely they are to meet your requirements. Furthermore, you can publish your own documents in
                          this library, to be .hared with other member, of your ¥/orkgroup.
                          The first pert of thb chapter provides ba.ic background informetion about rlat; ntosh client!
                          server find information retriev&1 concepts. If tJou fife familiar with these concepts I ',Iou mal,! want
                          to .kip to the .. ction "Managing Information With AppleSeerch," which provide. an overview of
                          the AppleSearch ,ortware.
                          Gathering and ,haring information
                          Information play, an increasingly i mportent role in the operation ofloday'. organization,. With
                                   'feratlon of computers I more and more oithe information we 1.!3e 13 maintained
                          eiec,!ronica.lly and may never b. printed. ConseqUently, the traditional method. of managing
                                             rapidly becoming ob.olete.




                         • To view the contents of an article, double-click the title of the article you
                           want to view.
                             AppleSearch displays the article in its own window in a plain-text format
                             (that is, without text formatting, graphics, sound, or video). This way, you
                             ean read the text of the article without having the application that created it.




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    By default, AppleSearch highlights matched words in local information
    sources. If you prefer, you can turn off this option in the Preferences dialog
    box. For more information, see "Setting Preferences" later in this chapter.
    Note: WArS servers do not provide matched-words information.
  • To copy information from the article to another document, use the Copy and
    Paste commands from the Edit menu.
    You can copy text from the article to paste into another document. However,
    you cannot cut text from or paste text into the article.
  • To save the text of the entire article, click the Save Text button.
    A Save As dialog box appears.
  • To print the article, choose Print from the File menu.
    A printer dialog box appears. You can specify print options before printing
    the full text of the article to the selected printer.
  • To copy the document in its original format, click the Copy Original button.
    Note: The Copy Original feature is not available for articles from WAIS servers.
    If an article from a loeal information source interests you, you may want to
    view the original document, complete with any special text formatting,
    graphics, sound, and video it may contain. Clicking Copy Original allows
    you to copy the document from the server to your computer.
    Note: You can copy only one original document from the server at a time.
    A Save As dialog box appears. You can rename the article, if you like, and
    then specify a location where you want it saved. A status window tells you
    that AppleSearch is copying the document to your disk.
    To use the document in its original fOlmat, you need an application that can
    open it. For example, to view a MacWrite document, you need MaeWrite or
    another application that accepts the Mac Write document format.

  When you're finished, close the article viewing window.




                                                               Initiating a search   37




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     Saving your reporter
                           Depending on the results that your reporter returned, you may want to save the
                           reporter for later use. Your saved reporter resides on the AppleSearch server
                           even though you interact with the reporter from your client computer.

                           To save your reporter:
                           Click the Save Reporter button on the right side of the reporter window.




                           A dialog box appears.




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2    Type a name for your reporter in the "Save as" text box; then click Save.




               Save as:



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     The name of your reporter and its icon appear in the AppleSearch window.
     Note: The reporter is saved on the server, not on your hard disk.

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     To open a saved reporter, double-click its icon, or select its icon and choose
     Open Selected Reporter(s) from the Search menu.




                                                                      Saving your reporter   39




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                     3   Type a new name for the reporter.




                     4   Click Save.
                         The AppleSearch window reappears. In a few moments the new reporter name
                         replaces the old name in the reporter list.




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                                                                                   APLNDC630-0000441879
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 Scheduling and receiving an update
                You can schedule your search so that new or modified information relevant to
                your search is retrieved on a regular basis. The reporter retrieves information at
                the time and date you specify, publishes it in a newspaper-like update, and
                delivers the update to your computer. The following illustration shows how
                AppleSearch performs a scheduled search.


                  Client/server interaction-a scheduled search
                  Client                            Server




                  You define a search request by           The reporter is saved on the AppleSearch server.
                  creating a new reporter and              The server continues to update local information
                  defining the reporter's schedule for     source indexes as scheduled, collecting
                  searching for new or changed             information about documents that meet search
                  information.                             requests.




                  At the scheduled update time,            The server searches WAIS information sources.
                  AppleSearch Client requests the          It also gathers the information it has collected
                  update information from the server.      from searches on local information sources
                                                           indexed since the last search. It sends the results
                                                           to your computer, including the entire text of the
                                                           articles found.




                  AppleSearch Client presents the
                  results of the search in a newspaper-
                  like update. You can view the update
                  to see just the first few lines of all
                  articles found, or open the article to
                  view its entire text.




                                                                  Scheduling and receiving an update             43

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                         Note that whereas immediate searches provide you with all matching infonnation,
                         a scheduled search retrieves only indexed information that has been added or
                         modified since the reporter was created or since you last received an update
                         from that reporter. This way, you don't have to read an article more than once.

                         The AppleSearch Server program becomes aware of new or changed infonnation
                         when it is indexing articles. Thus, your update contains articles from a local
                         information source only if that information source has been indexed since your
                         last update was created. If your reporter searches only local infonnation sources,
                         and none of those sources has been indexed since your last update, a new update
                         will be created, but it will be empty.
                         Note: The server searches WAIS sources at the time the update is scheduled.
                         WArS sources are not indexed by AppleSearch.
                         Updates are delivered only if your computer is connected to the AppleSearch
                         server at the time the reporter is scheduled to receive the update. If you want to
                         free up resources on your computer, you can quit the AppleSearch Client
                         program and still remain connected to the AppleSearch server. To disconnect
                         from the AppleSearch server, choose Disconnect from the File menu.
                         Note: Some WAlS servers do not maintain valid dates for the documents they
                         contain. AppleSearch will deliver empty updates for infommtion sources on
                         such servers because it has no way to determine the age of a document.




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     To schedule an update:

     Create a reporter and specify your search request as described earlier in the section
     "Creating a Reporter."




2    Click the Schedule Search button in the reporter window.
     The Search Schedule window opens.

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3    Click the Search button that corresponds to the kind of search you want.
     • Click the "Automatically for new or modified documents" button to schedule
       your repOtier to deliver regular updates on your topic. Your reporter publishes
       regular updates of the information you want, according to the schedule you
       establish in steps 4 and 5.




                                                                      Scheduling and receiving an update   45


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                         • If you want to suspend the delivery of your update, click the "Only when
                           requested" button. Initially, you need to click the "Automatically for new or
                           modified documents" button to set a schedule, After you set a schedule, click
                           the "Only when requested" button. The format of the search request is saved.
                           AppleSearch merely suspends the delivery of scheduled updates until you
                           click the button called "Automatically for new or mbdified documents."
                           Once the reporter is created and saved. you can still open it to conduct
                           immediate searches.

                    4    Set the time at which you want your reporter to retrieve new or modified documents
                         relevant to your search.
                         Click the hour, minutes, or AM/PM in the time box. Up and down arrows appear
                         to the right of the box. Click the part of the time that you want to change, and
                         then either type the appropriate number or use the up and down arrows to
                         change the time.

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                    5    Specify the days of the week on which you want your reporter to retrieve new or modified
                         documents relevant to your search request.
                         For example, if you click Mon, Wed, and Fri, your reporter will search for
                         information on Mondays, Wednesdays, and Fridays.

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                    6    Click the volume or folder icon so that you can move through the hierarchy of folders and
                         volumes to specify where you want your update delivered.

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7   Select the folder where you want the update delivered and click OK.
    The reporter window reopens.

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8   Click the Save Reporter button if you want to save your scheduled reporter.
    A dialog box appears. You can name your scheduled reporter in this dialog box.


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              ~ Thacker3 1,J




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                                                       Scheduling and receiving an update   47




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                    9    Type a name for your scheduled reporter in the "Save as" text box.


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                   10    Click Save.
                         The AppleSearch window displays the name of your scheduled reporter.

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                         You can open your scheduled reporter anytime to change any of the settings or
                         to conduct an immediate search. If you use your scheduled reporter to get
                         immediate results, you'll still receive your scheduled update at the next delivery
                         time that follows indexing ofthe information sources. Updates are delivered
                         only if your computer is connected to the AppleSearch server at the time the
                         reporter is scheduled to receive the update.




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Importing and exporting a reporter
                 Rather than re-create the search criteria of a well-defined reporter, you can copy
                 one that a coworker has made available. TIns process is called importing a
                 reporter. For example, you may want to use the reporter to perform the same
                 search on a different server.

                 Similarly, once you create and save a reporter, you can make it available for
                 someone else to use. This process is called exporting a reporter.

                 Importing a reporter
                 To import a reporter:
                 With the AppleSearch window open, choose Import Reporter from the File menu.
                 A dialog box appears that lets you select the name of the reporter you want
                 to import.




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                    = Building #2
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             2   Locate the reporter that you want to import.
                 If you're not sure where the reporter is located, ask the person who exported it
                 or ask your network administrator. The reporter probably resides on a public
                 file server.




                                                                    Importing and exporting a reporter   49




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                    3    Select the reporter,


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                            • .;{I Tools
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                    4   Click Open.
                        The selected reporter is imported and appears in your AppleSearch window.
                        Note: The reporter you import may have been created on a different server
                        from the one you use and may have used different information sources. If so,
                        you should reselect all information sources for an imported reporter before
                        conducting a search.

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          Exporting a reporter
          You can make a reporter available to your colleagues by exporting it.

          To export a reporter:

          In the AppleSearch window, select the icon of the reporter that you want to export.




      2 Choose Export Reporter from the File menu.
          A dialog box appears, asking you to specify a location for the exported reporter.



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                  Building #2
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      3   Specify a location for the exported reporter.
          The location you select is the one from which coworkers will import the reporter.




                                                               Importing and exporting a reporter   51


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                    4   Click Save.
                        A copy of the reporter you exported now resides in the location you specified
                        in the previous step.




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                        Once you export a reporter, you should confirm that other members of your
                        workgroup know its name and location so that they know where to find it when
                        they want to import it.




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    Viewing your update
                                  If you created a repOlter to make scheduled searches, it looks for new or recently
                                  modified documents relevant to your search request and delivers the results to
                                  you as an update.

                                  The name of your update consists of the name of the reporter that retrieved the
                                  information and the date on which the update was delivered. The update is
                                  located in the folder that you specified in the Search Schedule window.

                                  To look at an update:
                           !!iI   Double-click the update icon.
                                  An update viewing window opens, showing you the contents of the update. Here
                                  is a sample update viewing window.

                                                             Number of articles
                                                             in your update.

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      Date the update
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                               Undcr cach article title is the opcning tcxt, usually a paragraph or two. "Update
                               results" is the name of an article that appears in evcry update. Thc "Update
                               rcsults" mticlc contains detailed information about which information sources
                               wcrc scarchcd, whcn thcy wcre searched, and the results of that search .

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                                      Update. results




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                               To display articles from an update:

                        ill!   Double-click the icon of the article you want to display.
                               An article viewing window opens, showing you the text of the article.
                               To select more than one article, hold down the Shift key while you click the
                               icon for each article you want to view. You can then view the text of all the
                               sclected articles by double-clicking any of the selected icons or by choosing
                               Open Selected Article(s) from the Search menu. An article viewing window
                               opens for each selected article.

                               IMPORTANT The update resides on your own disk spacc and is for reading only.
                               From the update viewing window, you cannot rctrieve the original or have the
                               matching search words highlighted.




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Using the table of contents feature
                 Your reporter compiles a personalized update that may contain many articles.
                 Rather than scroll through the update window to view the articles, you can
                                                                                                                                                                                                     I.I


                 choose to see a table of contents (a list of article titles) from the update.

                 To use the table of contents feature:

                 Open the update that results from a scheduled reporter's search.
                 The article titles and the first few lines of text of each article are displayed in
                 the update format.

             2   Choose "Show Table of Contents" from the View menu.
                 A list of all the article titles contained in your update is displayed. Here is
                 an example.

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                                                                                                                                       Using the table of contents feature                    55




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                   3   To scroll the update to a specific article, click the article's title in the table of contents.
                       The article icon in the update is highlighted.

                   4   To display the text of any article, open its article viewing window.
                       Click the title of the article to select it in the table of contents. To select more
                       than one title, hold down the Command key while you click each title that you
                       want to select. To select a range of consecutive titles, hold down the Shift key
                       while you click the first and the last title in the range. To view the text of the
                       selected articles, choose Open Selected Article(s) from the Search menu or
                       double-click any highlighted article icon in the update viewing window. For
                       each at1icle you selected, an article viewing window opens to show you the
                       text of the article.
                   5   When you are finished working with the table of contents, choose "Hide Table of Contents"
                       from the View menu, or click the Close box, to return to your update.
                       You can simply drag the window aside if you're not ready to close it.




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Setting preferences
                Setting preferences can automate some aspects of the process of conducting
                information searches and displaying the text in the article viewing window.
                You can change your preferences settings anytime that you are working within
                AppleSearch.

                To set your preferences:
                Choose Preferences from the Edit menu.
                The Preferences dialog box appears.



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                      () A"           0 Last used         (~) None



                   [8J Highlight matching words in articles
                   o Display the sewer' select dialog bOil at star'fup
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                Here is a description of each setting in the dialog box.
               Default Information Sources At the top of the window are three options that
                let you tell AppleSearch whether, and how, to preselect information sources
                for you.
               • All When you select this option, each time you open a new reporter, all
                 available information sources will be selected.
               • Last used When you select this option, each time you open a new reporter
                 window, only the infomlation sources that you used last time will be selected.
               • None (default) When you select this option, no information sources are
                 automatically selected each time you open a new reporter window. When
                 None is selected, you must select each information source you want to use
                 before conducting a search.




                                                                           Setting preferences   57




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                         Highlight matching words in articles Select this option to activate the
                         matched-words feature for articles from local information sources. As you
                         progress through an article by using the matched-words buttons or arrows,
                         words matching the cOlTesponding search request word are highlighted. Leave
                         the box unchecked to disable this option. By default, this option is selected.
                         Display the server select dialog box at startup Select this option to have
                         AppleSearch Client automatically display the "Select an AppleSearch server"
                         dialog box each time you start your client computer. Leave the box unchecked
                         to disable this option. By default, this option is not selected.
                         Note: The setting of the "Display the server select dialog box at startup" option
                         can be changed only when you are connected to an AppleSearch server.

                    2    Click the Save button to save your preferences.




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  Phrasing Search Requests



  With AppleSearch, you don't have to be precise to find the information you
  need, but phrasing search requests effectively is a skill you can hone in order
  to obtain the most useful results. All of the information you need to conduct a
  search is provided in Chapter 3; this chapter tells you how to refine your search
  requests by phrasing them in your own words and by using Boolean operators.
  It also explains how AppleSearch locates and organizes information.




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   Understanding search basics
                        This section explains how AppleSearch finds and ranks the aI1icles that are
                        relevant to your search. If you want to begin phrasing search requests immediately
                        and you aren't interested in how AppleSearch actually finds, sorts, and ranks
                        the information, skip to the section "Constructing a Search" later in this chapter.

                        Stopwords and search words
                        Stopwords are words that may be included in a search request, but that the
                        reporter ignores when performing the search. They include intenogatory words
                        (who, what, why, and so forth), articles (the, a, an, and so forth), prepositions
                        (jor, with, of, and so forth), and other words that tend to lack distinctive meanings
                        as information topics. Search words are words included in the search request
                        that the rep011er uses as part of the search. These words carry distinctive meanings.

                        AppleSearch reads each word in the request from left to right. As the request is
                        evaluated, an implicit or is placed after each search word as AppleSearch looks
                        for individual occunences as well as combinations of the search words. This
                        gives you the broadest coverage in terms of finding articles that meet your
                        search criteria.

                        In the following example, AppleSearch ignores the stopwords Was and a to
                        search for the words Christina or Rossetti or Victorian or poet or any combination
                        ofthose search words.

                        Search for:




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   Understanding relevance ranking
  When you issue a search request, AppleSearch identifies the set of articles that
  appears to be most meaningful to you based on your search criteria.

  If you conduct an immediate information search (typing a search request and
  then clicking Stmt Search in the reporter window), the set of articles retrieved
  by AppleSearch first appem·s in your reporter window as a list of article titles
  with a number of stars beside them. The titles are automatically ranked, or placed
  in order, according to a statistical measure of the similarity between your request
  and the content of each article. (As options, you can view the list by title or by
  date, but initially the list is ordered by rank.)

  This ordering process is called relevance ranking, and it's applied separately to
  each information source. As a result, you can see at a glance which articles are
  most relevant for a given search request. If you view the list of articles by title
  or by date, relevance ranking is applied across all information sources. Relevance
  ranking helps you find more relevant information with less effort.

   Interpreting the rankings
  If the information search found results, then articles are returned from one or
  more of the selected information sources as the answer to your search request.
  For each infonnation source, at least one article receives the maximum number
  of stars to indicate its higher degree of relevancy. When compared with the
  other articles from that source, the ones assigned five stars are determined by
  AppleSearch to be the most relevant to your search request.

  As you look down the list, you may see the number of stars decrease from article
  to article (five stars, then four stars, then three stars, and so on). The ranks of
  the articles after the topmost are relative to that of the topmost article - the one
  that is always assigned five stars. (Refer to "Creating a Reporter" in Chapter 3
  for information on how to adjust the minimum relevance rank as one of your
  search options.)




                                                      Understanding search basics   61




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                        How relevance rank is assigned
                        When assigning a relevance rank to a particular article, AppleSearch compares
                        all the articles in a given information source. An initial sorting process finds
                        all the articles that answer the search request. Next, AppleSearch applies a
                        statistical measure to compare them. The following four key criteria are applied
                        in this statistical measure to assign a relevance rank to a particular article:
                        • The frequency with which each search word occurs within a document is an
                          indicator of relevance.
                        • A match on a word that is rare within a given information source is more
                          indicative of relevance than a match on a word that is common in that
                          information source.
                        • Since long articles have a greater chance of containing search words,
                          AppleSearch adjusts the relevance ranking so that long articles don't rank
                          higher just because of their length.
                        • Sometimes the fact that search words occur near each other within a document
                          is an indicator of relevance.

                        As AppleSearch evaluates all of the articles, those that best answer the criteria
                        of relevance ranking are given a greater number of stars. For example, consider
                        a search request that has three search words. Articles containing occurrences
                        of all three words would better answer the ranking criteria than those with
                        fewer matching search words. As a result, you could expect those articles to
                        receive more stars. If some articles contained a search word that was absent
                        from the other articles - that is, "rare occurrences" of the word - these artic les
                        would also better answer the ranking criteria than those that contained search
                        words that appear frequently.

                        If you choose to make a scheduled search, the set of relevant articles retrieved
                        by AppleSearch is delivered to you as a personalized update.

                        The list of article titles that appears in a reporter window or the articles that
                        appear in a scheduled update always fall within the parameters you specified
                        in the Search Options box in the repol1er window. If you need help understanding
                        information sources or the seareh options, refer to the section "Specifying
                        Your Search Request" in Chapter 3.




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               Understanding stemming
               For local information sources, AppleSearch uses a technique called stemming,
               which recognizes the root words in each article. Stemming removcs common
               suffixes from words, such as plurals and verb tenses. In the English language,
               AppleSearch recognizes suffixes such as -ing, -ed, or -es and abstracts the root
               word for matching purposes. As a result, your searches will be more broad as
               AppleSearch looks for common variations of the root word. For example, in a
               search on a local information source for the word representing, AppleSearch
               would actually find such words as represent, represents, and representative.
               Note: This feature is not suppOlted for some WAIS information sources. Instead,
               the WAIS server performs a literal search on the exact word.



Constructing a search
               You can type the search request in your own words or you can usc Boolean
               operators to direct your search. AppleSearch evaluates your search request
               from left to right.

               Making search requests in your own words
               A search request typed in your own words is called a natural-language query.
               Such a search request is based on a collection of words with no special commands.
               You can use uppercase or lowercase letters when typing your request because
               the search mechanism is not case sensitive.

               For example, to search for individual occurrences or combinations of Victorian
               or poets, as well as for root words and any words that can be formed from the
               roots, you might type (or copy and paste) the following words:
               Victorian poets




                                                                       Constructing a search   63




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                                                 Untitled


                                               IEJ
                          Search for:




                        You can copy and paste any portion of another document (a word, phrase, sentence,
                        or paragraph) directly into the "Search for" box in a reporter window. In general,
                        however, you get the most precise results by using fewer, more precise search
                        words. Use only alphanumeric characters in the "Search for" box. Also be
                        aware that the words and, or, and not have special meanings in AppleSearch,
                        described later in this chapter.

                         Expanding youI' search with C(H)ccurring words
                        Words that freque,:tly occur with a favored search word are called co-occurring
                        words. They often tum out to be good search words themselves. The co-occurring
                        words feature of AppleSearch helps you find additional search words by
                        finding those words that occur most frequently with a specified search word. You
                        can then add one or more of the words directly into your search request. The
                        co-occurring words are related by their being common to a number of found
                        documents. You can select the co-occurring words of interest to you and
                        disregard the rest.
                        Note: This feature is not supported for WAIS information sources.

                        For example, say that you conduct an information search on nineteenth century
                        poetry and find only one or two articles that meet the search criteria. By using
                        the co-occurring words feature, you may find that words such as Victorian or
                        Romantic frequently occur within the same articles that discuss nineteenth-
                        century poetry. By expanding your search with Victorian, or Romantic, as a




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                 search word, you may find an abundance of other relevant articles, since
                 authors may choose to reference specific literary periods instead of the century.
                 The following illustration demonstrates how co-occurring words help refine
                 your search.



                             Search request                                        Information source


                    Nineteenth century poetry




                                  First search result
                                                               Co-occurring words
                                                               returned from search
                                                                      Romantic
                                                                      Victorian




                       New search request based                                    Information source
                       on co-occurring words


                      Romantic or Victorian




                                                Final search result




                                                                                       Constructing a search   65

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                        Each time you conduct an information search with new or modified search
                        words, you can expect a new relevance ranking for the articles within that
                        information source,

                        To use the cO-occulTing words feature:

                        With the reporter window open, choose Show Co-occurring Words from the Search menu.
                        The co-occuning words window opens.

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                   2    In the Keyword text box, type a word for which you want to find co-occurring words.
                        Keyword is another term for search word.
                   3   Click Find.
                       AppleSearch uses the information sources in the active reporter window to
                       find words that occur most frequently with your keyword and displays a list of
                       the words.




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    AppleSearch displays in alphabetical order the top five co-occurring words, or
    their root words, from each information source. The co-occurring words are
    those that occur most frequently with the word in the Keyword text box.
4   If you want to conduct an information search on one of the co-occurring words, select it
    and click the "Add to Search" button.
    AppleSearch automatically copies the co-occurring word to the end of your
    search query (in the "Search for" box in the reporter window).
    AppleSearch stores in the Keyword pop-up menu the last ten keywords and their
    co-occurring words. The pop-up list is cleared when you quit AppleSearch or
    disconnect from the AppleSearch server.




                                                                  Constructing a search   67




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                    5    Use the Keyword pop-up menu to display the last ten keywords for which you sought
                         co-occurring terms.

                                                      Dickens



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                          Search for:
                                                           Key"Word:




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                                                           VIRTUE




                                                                             Find
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                    6    Choose any stored keyword for which you want to recall the co-occurring words. To use
                         one of the co-occurring words that you recall, select the word and click the" Add to
                         Search" button.
                        The selected word appears in the "Search for" box in the reporter window.
                         When you are finished working with the co-occurring words window, you can
                         close the window or drag it aside.




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   Refining your search requests by using Boolean operators
   The word Boolean is a mathematical term. Used in the context of AppleSearch,
   it describes document-searching and sorting logic. Boolean queries use special
   qualifying words, called Boolean operators, to expand or narrow the scope of
   your search. For local information sources, AppleSearch supports the full
   range of Boolean operators: or, and. not, wildcard characters, and proximity
   connectors. Each is briefly discussed in this section and summarized in a table
   at the end of the chapter.
   Note: Some WAIS information sources do not support Boolean operators.

   Using the or operator
   When you conduct a search, you can imagine that the word or appears between
   the words in your search request. AppleSearch finds the articles that have the
   most frequent occurrences of each search word, its root word, and any words
   that can be formed from the root.
   Although the or operator is understood between unpunctuated search words, you
   may have cause to specify or for clarity or other special purposes. You should
   recognize, however, that the or operator is always implicitly present unless
   you specify one of the other operators discussed in this chapter.

   Using the and operator
  The and operator allows you to narrow your information search by having
  AppJeSearch find only those atticles that contain occurrences of each of the search
  words (including their root words) that are separated in the search request by
  and. The words might be next to each other or scattered throughout the article.
   In this example, the and operator is used to instruct AppleSearch to find only
   atticles that contain both Victorian and poets. Articles that contain just
   Victorian or just poets are not returned.




                                                            Constructing a search   69




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                                            request                         Information source


                                            and poets




                                                         Search result




                      Using the not operator
                      The not operator allows you to exclude articles that contain the search word
                      immediately following not.

                      In this example, the not operator is used to instmct AppleSearch to find only
                      articles that contain Victorian but to disregard articles that contain poets even if
                      those same articles contain Victorian.




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                           Search request                        Information source



                      Victorian not poets




                                               Search result




             Using the? (single-character matching) operator
             Single-character matching allows you to search for variations of your search
             word by instructing AppleSearch to substitute each letter of the alphabet for the
             question mark (7), as in the following example.

             Search for:




             With this search request, AppleSearch would find articles containing words
             such as poems and poets.




                                                                      Constructing a search   71


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                       You can use the question mark several times in the same search word to refine
                       your search, as in the following example.

                       Search fOI';




                       With this search request, AppleSearch performs single-character matching in
                       two places in the same search term. As a result, AppleSearch would find
                       articles containing words such as sister and system.
                       Be careful to use the question mark only for single-character matching. If you
                       phrase your search request as a typical question, do not use the question mark
                       or other closing punctuation.
                       Note: The? operator is not suppOited for WAIS information sources.

                       Using the" (wild-string) operator
                       Wild-string searching allows AppleSearch to generate other possible search
                       words by substituting zero or more text characters for the asterisk (*) in order
                       to form new words. You can insert the asterisk anywhere in the search word to
                       find articles that contain variations of the word.
                       The following example shows the use of the wild-string operator after part of a
                       search word.

                       Seart;h for:




                       In this case, the wild-string operator causes AppleSearch to find articles that
                       contain words such as microbiology and microscope.
                       Note: The * operator is not supported for WAIS information sources.




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                      Using proximity and adjacency operators
                      Proximity searching narrows the search so that AppleSearch finds search terms
                      only when they are near each other. Adjacency searching further limits the
                      search to terms that are next to each other.

                      You can use anyone of the following operators to find search terms that occur
                      together: the hyphen (-) as in Victorian-poets, the peliod (.) as in Victorian.poets,
                      the apostrophe (') as in Victorian 'poets, the comma (,) as in Victorian,poets, or
                      the abbreviation for adjacency (adj) as in Victorian ad} poets. Spaces are not
                      allowed between the adjacency operators and the search terms, except with the
                      ad} operator, for which a space between the operator and the search word is
                      required. The following example shows the use of the adjacency operator.
                      Note: A curly apostrophe (') is a different character from a straight apostrophe
                      ('). You can use curly apostrophes in your search request, but they are not
                      recognized as adjacency operators.


                                   Search request                           Information source



                             Victorian adj Poets




                                                         Search result




                      Note: The adjacency and proximity operators are not supported for WAIS
                      information sources.




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                                                                                 Constructing a search   73

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                         If you work with numbers, you can phrase your search request to find a
                         particular number, as shown in the following example.




                         In this example, the adjacency operators (,) and ( .) are used to instruct
                         AppleSearch to find only mticles containing occurrences of exactly 20,000.32
                         or other combinations when 20, 000, or 32 are next to each other. Articles that
                         contain occurrences of just 20 or 20,000 or other combinations other than
                         20,000.32 are not returned.

                        You can also use adjacency operators to find exact monetary values. Note that
                        you should not use monetary symbols such as "£" or "$" as part of the search
                        request. A sem·ch request that includes monetary symbols returns no matches
                        because AppleSearch does not recognize these special characters. However, a
                        search request made up of just numbers finds the numbers as they exist with
                        monetary symbols.
                        If you work with words that have meaning only when they're next to each other,
                        such as a person's first and last name, you can phrase your search request to
                        find the exact words, as in this example.

                         Se.arch for:
                                w,   """




                        In this case, the adjacency operator (-) is used to instruct AppleSearch to find
                        only articles that contain Robert Browning when the two words are next to
                        each other. Alticles that contain just Robert or just Browning or combinations
                        other than Robert Browning are not returned.




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  You can adjust proximity operations by specifying how close the search terms
  need to be to each other in order to be returned. To adjust the proximity of
  your search, use the Win operator, where W means within and n equals the
  number of terms that exist between your search words. You must use spaces to
  separate the Win operator from the search words. Here is an example.

  Search for:




  In this case, the Boolean Win operator is used to instmct AppleSearch to find only
                                                                                          I
  articles that contain Elizabeth and Browning within two words of each other.
  This search would return articles that contain Elizabeth Browning, Elizabeth
  Barrett Browning, and other combinations where Elizabeth and Browning are
  within two words of each other.
  Note: Using an adjacency operator is the same as specifying W11.
                                                                                          I
  Using the ( ) operator
  By enclosing a phrase in parentheses, you instmct AppleSearch to process the
  enclosed search words before evaluating those outside the parentheses, as
  shown in the following example.




  This search request instmcts AppleSearch to search for articles that contain
  Elizabeth and Browning within two words of each other and then to search for
  articles that contain Robert Browning when the two words are next to each other.
  Note: This feature is not supp01ted for WAIS information sources.




                                                           Constructing a search   75

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                         AppleSearch finds articles that contain the words Elizabeth Barrett Browning as
                         well as atticles that contain Robert Browning as long as the selected information
                         source contains them. Elizabeth WI2 Browning is processed first because
                         AppleSeatTh always processes the search request from left to right.

                         Note that the implicit or operator still exists between each pair of search words,
                         even when those words are enclosed by parentheses. For example, a search
                         request phrased as Elizabeth Browning, without a proximity operator, would
                         find articles containing Elizabeth or Browning.

                         Using the! (word expansion) operator
                        Word expansion allows you to search for words that frequently occur with
                        your search word in the specified information source. This kind of search finds
                        articles that contain words that occur frequently with the search word but that
                        do not necessarily contain the search word itself.

                        By inserting the exclamation mark (!) after your search word, you instruct
                        AppleSearch to find articles that contain the words that occur most often with
                        the search word (the word preceding the exclamation mark), as in the
                        following example.

                         Search for:




                        Word expansion automates the steps of using cO-OCCUlTing words. For more
                        information on the cO-OCCUlTing words feature, see the section "Expanding
                        Your Search With CO-OCCUlTing Words" earlier in this chapter.

                        When you conduct a search that uses word expansion, the cO-OCCUlTing words
                        are not displayed as matching terms in the article viewing window.
                        Note: The! operator is not supported for WAIS information sources.




   76   Chapter 4 / Phrasing Search Requests




                                                                                            APLNDC630-0000441913
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                                                                                                         r

                                                                                                         I
   Understanding precedence
   The search mechanism used by AppleSearch reads a search request from left
   to right, but it evaluates the entire request by using internal precedence rules.
                                                                                                         I
   The search mechanism always evaluates the search request in this order:
   1. single-character matching (?), wild-string (*), or word expansion (!)
                                                                                                         I
   2. parentheses ( )
   3. the proximity operators (-), (.), C), (,), (ad}), or (Win)
   4. not
        and
        or

   The following table lists AppleSearch search operators, their meanings, and
   some examples of each.

   AppleSearch search operators
   Operator                  Meaning                              Example

   ? (single-character)      Searches for words that can be       "Poe?s"
                             formed by replacing the question     finds poets or poems.
                             mark (?) with a letter.
   * (wild-string)           Searches for part of the             "Victor'"
                             search word.                         finds Victor, Victorian, victory,
                                                                  and so forth.
   ! (word expansion)        Searches for words that occur        "History!"
                             frequently with the word preceding   finds words from each selected
                             the exclamation mark.                information source that
                                                                  frequently occur with history;
                                                                  then AppleSearch performs an
                                                                  information search on each
                                                                  of them.
   ()                        Searches first for whatever is       "(William Faulkner)"
                             contained in parentheses.            finds occurrences of William
                                                                  or Faulkner.




                                                                                       Continued ..




                ..   _ _ __ _ - - -
                        ..    ..


                                                                    Constructing a search       77




                                                                                                      APLNDC630-0000441914
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                       AppleSearch search operators (continued)
                       Operator                    Meaning                                       Example

                       adjt or Win                 Searches for words that are next              "William adj Faulkner"
                                                   to each other or within a certain             finds occurrences of William
                                                   number of words of each other.                and Faulknerwhen they are
                                                                                                 next to each other.
                       not                         Searches for articles that contain            "William not Faulkner"
                                                   the search words preceding not.               finds articles containing
                                                   Ignores articles containing the                Wlfliam but ignores all articles
                                                   search words if those articles also           containing Faulkner.
                                                   contain the word following not.
                       and                         Searches for articles that contain            "William and Faulkner"
                                                   the search words separated by                 finds occurrences of William
                                                   the operator and.                             and Faulkner as they occur in
                                                                                                 any combination in the same
                                                                                                 article.
                       or                          Searches for articles that contain            "William or Faulkner"
                                                   anyone or some combination of                 finds all possible occurrences
                                                   the search words. The or                      of Wlfliam or Faulkner.
                                                   operator is always understood to
                                                   exist between search words.

                       t The adj operator has the following equivalents: the hyphen (-), the period (.J, the apostrophe (,), and the
                         comma (,).




  78   Chapter 41 Phrasing Search Requests




                                                                                                                  APLNDC630-0000441915
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Appendix A AppleSearch Menu Reference



           This appendix describes each item in the menus displayed by AppleSearch.




                                                                                      APLNDC630-0000441916
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                        AppleSearch has six menus, as shown in the following figure.




                        L'ittrn!\\#ik4ilHmm-

                        About AppleSearch Client displays a dialog box giving the version
                                                                                          numbe·
                        and copyright notice of the AppleSearch Client program.                1




    File menu
                                           :jt:O
                          Close            WW

                          Save Tellt...     WS
                          COPY Original ...

                          Ellport Reporter. ••
                          Import Reporter. ••

                          Connect           WK

                          Page Setup ...
                          Print...         WP

                          Quit             WQ



                        Open displays the open-file dialog box for opening saved mtic1es or UIAl<""".
                        This menu item is always available.

                        Close closes the active, or frontmost, window.




   80   Appendix A I AppleSearch Menu Reference




                                                                                        APLNDC630-0000441917
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  Save Text displays a Save As dialog box, where you can name the article (text
  only) and specify a location where you want it saved. This menu item is
  available only in text viewing windows.

  Copy Original displays a Save As dialog box, which you use to direct
  AppleSearch to create a copy of an original document (including any graphics
  and special formatting). You can specify a name and a location on your hard
  disk for that copy. To read the document, you must have an application that is
  capable of opening it. This menu item is available only when you are viewing
  an article in a local information source on your AppleSearch server.
  Note: This feature is not supported for documents from WAIS information
  sources.

  Export Reporter displays a dialog box that lets you rename the reporter and
  save it to a location you specify. You can export only one reporter at a time.
  This menu item is available only when you have a single reporter selected ..

  Import Reporter displays a dialog box that lets you locate and open a saved
  reporter. This menu item is available anytime you are within the AppleSearch
  program and connected to the AppleSearch server.

  ConnectlDisconnect displays the "Select an AppleSearch server" dialog box
  and, if needed, a security dialog box. If you are already connected to a server,
  the menu item changes to Disconnect.

  Page Setup displays the Page Setup dialog box for the printer you selected in
  the Chooser.

  Print prints the contents of the active article window.

  Quit closes the AppieSearch Client program. Quitting the program does not
  disconnect you from the AppleSearch server if you are already connected to
  the server and have scheduled reporters.




                                                                     File menu   81




                                                                                      APLNDC630-0000441918
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    Edit menu
                           Undo              :mZ

                           Cut               :mH
                           Copy              :mC
                           Paste             :mil
                           [:Jear

                           Select nil        :mil

                           Delete Reporter
                           Rename Reporter. ..

                           Preferences .•.


                         Undo undoes the previous editing operation.

                         Cut cuts the selected text and places it on the Clipboard.

                         Copy copies the selected text and places it on the Clipboard.

                         Paste pastes the contents of the Clipboard into the active editing area.

                         Clear deletes the selected text.

                         Select All selects all the text in the active editing area.

                         Delete Reporter deletes the currently selected reporter in the AppleSearch
                         window.

                         Rename Reporter displays a dialog box that allows you to rename the
                         selected reporter.




    82   Appendix A / AppleSearch Menu Reference




                                                                                          APLNDC630-0000441919
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  Preferences displays the Preferences dialog box.


     [Oefault Information Sources -
       () All        0 last used

     [') Highlight matching luords in ar-tic:les
     D £liSp lay the se,rue.r select dialog bOH at startup

                                             (r    Salle   D


  • Default Information Sources
    The upper portion of the Preferences dialog box specifies what information
    sources appear in your reporter window each time you open a new reporter
    window.
    - All causes AppleSearch to automatically select all the available
      information sources.
    - Last used causes AppleSearch to automatically select only those
      information sources that you used the last time you pelformed a search.
    - None causes AppleSearch to not select any information sources
      automatically.
  • Highlight matching words in articles causes AppleSearch to highlight and
    underline the words in the article viewing window that match the search
    words that you specified in your search request.
    Note: This feature is not supported for articles from WArS information
    sources.
  • Display the server select dialog box at startup causes AppleSearch to
    automatically display the "Select an AppleSearch server" dialog box each
    time you start your computer. This option can be changed only when your
    AppleSearch client computer is connected to an AppleSearch server.




                                                                 Edit menu     83




                                                                                    APLNDC630-0000441920
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   View menu
                          by InfOl-mation Source
                          by Title
                          by Oate

                          NeHI Milich         :jill
                          PreLlioH~ Match     :3€[

                          Show Table Of Contents



                        by Information Source sorts search results in the rep011er window by information
                        source and shows relevance-ranking stars (*) within each information source.

                        by Title sorts search results across all information sources by title. You can
                        view search results by title anytime that the reporter window is active.

                        by Date sorts search results across all information sources by date. You can
                        view search results by date anytime that you are viewing article titles in the
                        reporter window.
                        Note: Some articles from WAIS information sources do not have dates.

                        Next Match finds the next search word in an article from a local information
                        source.
                        Note: This feature is not available for articles from WAIS information sources.

                        Previous Match finds the previous search word in an article from a local
                        information source.
                        Note: This feature is not available for articles from WAIS information sources.

                        Show/Hide Table of Contents displays or hides a list of article titles from an
                        update. Double-clicking an article title, or selecting it and choosing Open
                        Selected Article(s) from the Search menu, opens the text of the article.




   84   Appendix A I AppleSearch Menu Reference




                                                                                           APLNDC630-0000441921
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Search menu
                  .,
                  Nelli Heporter            3;1R
                  Open Items

                  S1:we Reporter
                  Saue Repor·ter As ...
                  Reuer! to SaL'ed

                  Information Soune.s ... 3;11
                  Schedule Search...      !lilT




                New Reporter opens a new, empty reporter window.

                Open Items opens the cun-ently selected items. An item can be a reporter icon,
                an article resulting from a search, or an article in an update. You can also open
                multiple reporters or articles. The words Open Items change to Open Selected
                Article(s) or Open Selected Reporter(s) as appropriate.

                Save Reporter saves the cunent reporter settings.

                Save Reporter As displays a dialog box that allows you to save the cunent
                reporter under a new name or in a new location.

                Revert To Saved returns the contents of a reporter window to its last-saved state.

                Information Sources opens the Information Sources window, where you
                select sources for AppleSearch reporters to use.

                Schedule Search opens the Search Schedule window, where you specify when
                you want AppleSearch to conduct an information search and where you want
                your personalized update delivered.




              - - - - - - - - - - .. _ _ ...
                                                                                 Search menu    85




                                                                                                     APLNDC630-0000441922
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                        ShowlHide Co-occurring Words opens the co-occurring words window, where
                                                                                                           l   II
                        you can expand your search by finding the words that occur most frequently
                        with your search word. AppleSearch finds and displays five co-occurring words
                        from each selected information source.
                        Note: This feature is not available for articles from WAIS information sources.

                        Start Search executes an immediate search with the current settings (established
                        in your reporter window). The results are displayed in the reporter window.



   Window menu
                        ~IIL            . . . _~_
                        if RppleSearch '"     ~M


                          Reporter: Thackeray
                          Reporter: Shakespeare
                          Reporter·: Dickens



                        AppleSearch opens an AppleSearch window if one is not already open; if an
                        AppleSearch window is already open, it will become active.

                        The lower portion of this menu displays a list of all open windows. Choosing a
                        window's name brings that window to the front.




   86   Appendix A I AppleSearch Menu Reference




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                                                                                                       !
                                                                                                       !




Appendix B Troubleshooting



           This appendix describes potential problems you might encounter while using
           AppleSearch, tells you the probable cause of each problem, and suggests steps
           you can take to resolve the problem,




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   Problems connecting to an AppleSearch server
                                                                                                                   •I
                       No server names appear in the "Select an AppleSearch Server" dialog box.                    I
                       The server might be shut down.
                       Ask your network administrator when the server will be available again
                       for searching.

                       The "Select an AppleSearch Server" dialog appears each time you start your computer.
                       A setting in the Preferences window is causing AppleSearch to automatically
                       display the "Select an AppleSearch Server" dialog box at startup.
                       Connect to the AppleSearch server; then choose Preferences from the Edit menu.
                       Click the checkbox labeled "Display the server select dialog box at startup" to
                       deselect it; then click Save. But keep in mind that in order to receive scheduled
                       updates, you need to remain connected to the AppleSearch server.
                       An "invalid user 10" message appears when you aHempt to log on to the AppleSearch server.
                       An incorrect user ID is entered. Contact your network administrator for a valid
                       ID. When a valid user ID is created, log on to the server again.
                       Program linking has not been turned on for your user ID. Contact your network
                       administrator to tum on program linking.
                       Your AppleSearch user name (user ID) contains more than 30 characters. Even
                       though AppleShare and other network application programs allow the creation
                       of long user IDs, IDs longer than 30 characters cannot be used to log on to the
                       AppleSearch server. Contact your network administrator. When a valid user ID
                       is created, log on to the server again.




  88   Appendix BI Troubleshooting




                                                                                                APLNDC630-0000441925
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Problems saving or scheduling a reporter
               The Save Reporter button and the Schedule Search button in the reporter window are
               always unavailable (dimmed).
               You connected to the server with Guest privileges. As a guest, you can neither
               save nor schedule a reporter.
               Reconnect to the server as a registered user. If you are not a registered user
               and want to be designated as one, see your network administrator.



Problems using a reporter
               Unrequested information sources appear whenever you open a new reporter window.
               A setting in the Preferences window is causing AppleSearch to preselect all
               available information sources or to select the information sources that you
               used the last time you conducted a search.
               Open the AppleSearch program; then choose Preferences from the Edit menu.
               Click the button under Default Information Sources ("All," "Last used," or
               "None") that best meets your needs.
               An unwanted reporter cannot be dragged to the Trash.
               Unlike items on your Macintosh desktop, reporters reside on the server, so you
               cannot drag them to the Trash.
               To remove a reporter, select the reporter's icon in the AppleSearch window;
               then choose Delete Reporter from the Edit menu.
               Typing a new name for the reporter in the AppleSearch window does not work.
               Unlike items on your Macintosh desktop, reporters reside on the server, so you
               cannot rename them by selecting the icon and typing a new name.
               Select the reporter's icon in the AppleSearch window; then choose Rename
               Reporter from the Edit menu.




                                                                       Problems using a reporter    89

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   Problems obtaining search results
                         The Start Search button in the reporter window is dimmed.
                         Either an information source was not selected or a search request was not
                         specified. The Start Search button becomes available only when these two
                         conditions have been met.
                         Confirm that you have at least one information source selected and that you
                         typed a search request in the "Search for" box.

                         The AppleSearch reporter was unable to process the search request.
                         The search request contains words or punctuation marks that have special meanings
                         in AppleSearch, resulting in an inability to process the search request. Your
                         reporter translates the content of the search request, which you may have copied
                         from someplace else, into Boolean logic. In Boolean logic, the words and, or,
                         and not, and certain non-alphanumeric characters (punctuation marks, parentheses,
                         and so on) have special meanings that are different from the original article from
                         which you may have copied the text. If your search request ends with the word
                         and, or, or not, the request cannot be processed. Similarly, if your request
                         contains incomplete punctuation marks, such as an open parenthesis without a
                         closing parenthesis, the search request cannot be processed.
                         Double-check the words and punctuation marks used in the "Search for" box
                         (in the reporter window). Confirm that the search request does not end with
                         and, or, or not. Also make sure that opening and closing punctuation exists, if
                         such marks are used.

                         The reporter returned only a small number of articles.
                         • Only a few articles met all the Search Options requirements established in
                           the reporter window.
                            Expand your search options. For example, increase the setting for Maximum
                            Returns (in the reporter window) so that more articles can be returned to you.
                            Also, try expanding the date range so that AppleSearch can return articles
                            that were created earlier than the range you originally specified.




   90   Appendix B I Troubleshooting




                                                                                              APLNDC630-0000441927
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   • The selected information source or sources do not represent the best choice
     given the search request.
      Try selecting a different information source or selecting additional
      information sources. Always try to select the information source that will
      best answer the search request.
   • The words used in the search request (in the "Search for" box in the reporter
     window) are not the best choice for the selected information sources.
      Try using other words in the "Search for" box that might trigger the return
      of additional relevant articles. You might want to use the co-occurring
      words feature to find other relevant search words. For information on the
      co-occurring words feature, see Chapter 4.
   • One or more selected WAIS information sources are not available.
      WAIS information sources can appear to be available even if the associated
      WAIS server is inaccessible. Try selecting a different information source or
      selecting additional information sources. If you still receive no resuLts,
      contact your AppleSearch server administrator.
   The reporter returned articles that have little or nothing to do with your search request.
   • The search request was not precise enough.
      Try using other words in the "Search for" box that correspond with the
      information you want and the information sources that you selected. Also,
      confirm that AppleSearch is interpreting the request correctly; note that an
      understood or exists between each pair of search words. For example, if
      you're searching for two or more words next to each other, such as Apple
      Computer, you need to connect the two words with a hyphen (-) or an
      equivalent proximity operator; otherwise, AppleSearch returns articles
      containing occurrences of each search word (Apple or Computer), as well as
      any combination of the two.




                                                       Problems obtaining search results    91




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                       • The search words in the "Search for" box are misspelled or contain special
                         characters.
                          Check the spelling of the words in the "Search for" box. Confirm that a
                          space exists between words. Also, look for non-alphanumeric characters
                          and confirm that they're used properly. Non-alphanumeric characters
                          (question marks, exclamation marks, parentheses, and so forth) have special
                          meanings in AppleSearch. Also confirm that the words and, or, and not are
                          used properly. These words are Boolean operators and have special
                          meanings in AppleSearch. Refer to Chapter 4, "Phrasing Search Requests,"
                          to learn how these special characters and words are used by AppleSearch.
                       • The selected information source or sources lack the information you want.
                          Try selecting a different information source or selecting additional information
                          sources. Always try to select the information source that will best answer
                          the search request. Note that articles from WArS information sources often
                          will contain your search words as part of an account name, computer name,
                          Internet address, or message title, but not in the text.
                       • To limit your search criteria, you have specified Boolean operators that are
                         not processed in searches of WArS information sources.
                          Some WArS information sources do not support Boolean operators. Try
                          rephrasing your search request with different search words.
                       The reporter is taking a long time to return results from the server.
                       • The information sources on the server are being indexed or compacted.
                         Depending on the processing power of the AppleSearch server, information
                         search and retrieval can be slow when information sources are being
                         indexed or compacted.
                          Ask your network administrator when the indexing process will be complete.
                          Try the search again when indexing is over.
                       • Many users are making search requests at the same time.
                          Try the search request later, when you believe the server won't be processing
                          so many requests at once.




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 92   Appendix B I Troubleshooting




                                                                                               APLNDC630-0000441929
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                • A very broad, or complex, searcb request is being processed. The
                  AppleSearch server may be looking through many documents in many
                  information sources to answer a very broad request. Perhaps the search
                  request contains too many words.
                   Try retyping the search request, using a few distinctive words rather than
                   many general words. If you still need to expand your search, try using the
                   co-occurring words feature, discussed in Chapter 4.

                The reporter does not respond to the search request.
                The information sources became unavailable after you selected tbem but before
                you clicked the Start Search button.
                Ask your network administrator when the selected information sources will be
                available for searching again. Try the search again when the sources are available.
                The reporter returned the articles but they don't contain the graphics or formatting.
                Your reporter finds and delivers only the text of the articles.
                Open the article again; then click the Copy Original button, which allows you
                to obtain a copy of the original document with any graphics and formatting
                and save it on your hard disk.


Problems displaying information
                The text in an AppleSearch window or dialog box is distorted.
                You need the font that AppleSearch uses to display text. The fonts you need
                are among those included with your system software, but for some reason they
                may be missing from your system. You need one of the following fonts:
                Monaco 9- or lO-point bitmap (screen font) or Monaco TrueType font.
                Re-install your system software with the needed Monaco fonts .




                    ....   _ _.._ . _ - - - - - - - - - - - - - - - - - - - - - - - -
                                                            Problems displaying information 93


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                                                                                                        APLNDC630-0000441930
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  Problems with your scheduled update
                        A scheduled update is not delivered.
                        • Your computer was not connected to the AppleSearch server at the scheduled
                          time of delivery.
                           Leave your computer connected to the AppleSearch server. Your update
                           should be delivered at the next delivery time following indexing of the
                           information sources.
                        • Your update arrived at a location other than the one where you expected it
                          to be delivered.
                           From the AppleSearch window, open the scheduled reporter and check the
                           day, time, and location you specified for delivery. You may have specified a
                           delivery location or date other than where or when you expected.
                        • You checked for your update before the next cycle of information-source
                          indexing. However, you should still receive an "Update results" article that
                          confirms that no new information existed at your update-delivery time.
                           Confirm that your computer was left connected to the AppleSearch server
                           between the time you scheduled the reporter and the time that the administrator
                           indexed the information sources. Your reporter acts on your delivery schedule
                           after information sources are indexed. If you scheduled your reporter to
                           deliver your update before the next information-source indexing, you are
                           looking for your update too early. In this case, you only receive an "Update
                           results" article without new or modified information on your topic. Ask
                           your administrator when he or she expects the information sources to be
                           indexed again. Look for your update at the next delivery time that follows
                           indexing of the information sources.
                        • The folder to which you told AppleSearch to deliver your update has been
                          deleted.
                           As the destination for the update, specify a folder that's unlikely to be deleted;
                           then schedule the search again.




  94   Appendix B / Troubleshooting




                                                                                               APLNDC630-0000441931
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              The original document cannot be retrieved from a scheduled update.
              • The scheduled update resides on your hard disk, and the Copy Original
                feature is supported only when you are viewing an article on the server. The
                scheduled update is for reading only.
                 Use the scheduled reporter to perform an immediate search; then open the
                 article from the reporter window and click Copy Original.



Problems opening a document you saved by
clicking Copy Original
              The formatted original can't be opened.
              You don't have a program, sueh as the application in which the original document
              was created, that can open the document.
              Ask your network administrator for the name of the application that created
              the document that you are trying to open. Either purchase the application and
              use it to open the document, or ask someone who can open the document to
              open it for you.




                                  Problems opening a document you saved by clicking Copy Original   95




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                                                                APLNDC630-0000441933
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Glossary




access privileges The privileges given to or            file sharing The capability of sharing files among
withheld from users, that allow users to open and       computers on a network. File sharing is a built-in
make changes to a shared disk or folder and its         feature of Macintosh system software version 7.0
eontents. Access to the information stored on the       or later.
AppleSearch server is controlled through the setting    gateway A logical or physical entity that connects
of access privileges.                                   two or more networks.
article viewing window An AppleSearch window            information source A shared volume or folder of
in which the text of an article is displayed. Compare   documents that has been designated as searchable
update viewing window.                                  by the AppleSearch software.
Boolean A mathematical term that describes the          internet An interconnected group of networks. When
document searching and sorting logic used by            written as Internet, refers to the DARPA Internet.
AppleSearch.
                                                        keyword A distinctive word that an AppleSearch
client A computer that has access to services, such     user types or copies into the co-occuning words
as AppleSearch, on a network. The computers that        window. In information search-and-retrieval
provide services are called servers. A user of a        systems, the terms keyword, search word, query
client may request information search and retrieval,    word, and so on, all refer to the word or term that a
printing, or other available services from servers.     user is trying to find in a collection of documents or
co-occnrring words A feature of AppleSearch that        information sources. Compare co-occurring words
allows a user to expand a search by finding the words   and search words.
that occur most frequently in the same information      local area network A group of computers at a single
source as a specified search word. (The search word     site connected for the purpose of sharing resources.
can also be called a keyword.)
                                                        local information sonrce A shared volume or
DARPA Internet The collection of networks and           folder of documents on the AppleSearch server that
gateways that use TCP/JP protocols to communicate.      has been designated as searchable by the AppleSearch
Also called the Internet. See also internet.            software.




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  Make Changes privilege The access privilege that           root word The part of a search word that remains
  gives a user the right to make changes to a folder's       after the stemming process has ,removed suffixes.
  or directory's contents.                                   Used to identify variations of the search word. See
  network A group of computers and other devices             also stemming.
  (such as printers and file servers) linked by means        scheduled reporter A user-defined reporter that
  of connectors and cables. Specially designed software      performs an information search at a specific time
  allows the devices on the network to exchange              and on a specific date, then delivers the results as a
  information.                                               newspaper-like document to the user's hard disk.
  network administrator The person responsible for           search words Those words that a reporter uses as
  setting up and maintaining the network. This individual    part of the search process. Search words calTY
  maintains all network            such as AppleSearch.      distinctive meanings. AppleSearch performs word
  For AppleSearch, the administrator designates              matching and statistical comparison of the search
  registered users, maintains information sources, and       words against the selected information sources to
  monitors the status of the AppleSearch server.             find articles that meet the user's needs. Compare
  network services The capabilities that the network         stopwords.
  system delivers to users, such as printing on network      See Files privilege The access privilege that gives
  printers, using AppleSearch on network file servers,       a user the right to open and copy documents and
  or communicating through electronic mail.                  applications in a folder.
  program linking The ability of an application              See Folders privilege The access privilege that
  program to exchange information directly with              gives a user the right to see folders within a folder.
  another program over a network.                            server A computer that provides a particular service
  relevance ranking A statistical measure that evaluates     across a network. The service may be AppleSearch,
  all the articles in an information source according to     printing, and so on. Computers from which people
  how well they answer a user's search request.              use the service are called clients.
  remote information source A shared set of                  sharing The ability to see folders, see files, or make
  documents on a server other than the AppleSearch           changes to a shared disk or folder. Access privileges
  server) that has been designated as searchable by          are granted by the owner of the shared item and are
  the AppleSearch software. See also WAfS                    used to determine what other network users can do
  information source.                                        with the disk or folder and its contents.
  reporter An electronic search agent that actively          stemming A function of AppleSearch that
  finds information in order to answer a user's search       recognizes the root words in each article. Stemming
  request. The reporter is created in a familiar Macintosh   removes common suffixes from words and abstracts
  window, called a reporter window. The actual               the root word for matching purposes. See also root
  reporter resides on an AppleSearch server but is           word.
  created and used by client computers.




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stopwords Those words that a reporter ignores            W AIS database An infOimation database on a WAIS
when performing a search. A list of stopwords            server, accessible to the network through a natural
exists as a file on the AppleSearch server and           language--like search engine such as AppleSearch.
includes intenogatory words (who, what, why, and         See also wide area information server.
so forth), articles (the, a, an, and so forth),          W AIS information source An information source
prepositions (jar, with, of, and so forth), and others   that represents a W AIS database that has been
that tend to lack a specific, noncontextual meaning.     designated as searchable by AppleSearch Server.
Compare search words.
                                                         wide area information server (W AIS) A server
system software The files and resources (including       that contains an information database accessible to
file-sharing capability), stored in the System Folder,   the network through a natural language-like search
that a Macintosh computer uses to run itself.            engine such as AppleSearch.
update A newspaper-like document delivered to a          XTND A technology used by Apple Computer that
user's disk by a scheduled reporter. An update           allows the AppleSearch software to extract plain text
contains new or modified information as it pertains      from various document types-stripping out graphics
to a user's search request. Updates are delivered at a   and formatting-for indexing and searching. The
user-specified time and location after the next time     XTND technology is applied by means offile-format
that information sources are indexed.                    translators, each of which is specific to a given
update viewing window An AppleSearch window              document format. For example, in order for an
that displays the full text of an article opened from    AppleSearch client to extract the plain text from a
an update. Compare article viewing window.               MacWrite document, the XTND translator for
W AIS See wide area information server.                  MacWrite must be present on the AppleSearch server.




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  The Apple Publishing System

  The AppleSearch User's Guide was written, edited, and
  composed on a desktop publishing system using Apple Macintosh
  computers, an AppleTalk network system, Microsoft Word, and
  QuarkXPress. Line art was created with Adobe Illustrator and
  Photoshop. Proof pages were printed on Apple LaserWriter
  printers. Final pages were output directly to 70-mm separated
  film on an Electrocomp 2000 Electron Beam Recorder.
  PostScript™, the LaserWriter page-description language, was
  developed by Adobe Systems Incorporated.
  Text type is Times® Roman, display type is Helvetica® Narrow,
  and cover type is AppleGaramond, Apple's corporate font.
  Ornaments are custom symbols designed for Apple Computer.
  Some elements, such as computer voice, are set in Apple Courier,
  a fixed-width font.




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